Case 19-59018-lrc       Doc 61     Filed 05/11/22 Entered 05/11/22 14:10:18            Desc Main
                                   Document      Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                            :   CHAPTER 7
                                                  :
KAREN ELAINE DICKERSON,                           :   CASE NO. 19-59018 - LRC
                                                  :
                DEBTOR.                           :
                                                  :
                                                  :
MARY IDA TOWNSON,                                 :
UNITED STATES TRUSTEE,                            :
                                                  :
                MOVANT,                           :
                                                  :
vs.                                               :   CONTESTED MATTER
                                                  :
KAREN ELAINE DICKERSON,                           :
                                                  :
                RESPONDENT.                       :


      MOTION OBJECTING TO DISCHARGE PURSUANT TO SECTION 727(a)(8)

         Mary Ida Townson, United States Trustee for Region 21, moves the Court to enter an order

denying a discharge to Karen Elaine Dickerson, (“Ms. Dickerson”) pursuant to Bankruptcy Code

section 727(a)(8). In support of this motion, the United States Trustee respectfully shows as

follows:

                                   STATEMENT OF FACTS

         1.     On June 10, 2019, Ms. Dickerson commenced the underlying bankruptcy case by

filing a petition for relief under chapter 13 of the United States Bankruptcy Code (the “Petition”).

         2.     On May 5, 2022, the Court converted the case to chapter 7.

         3.     On her Petition, Ms. Dickerson indicated her social security number is XXX-XX-

5682.
Case 19-59018-lrc        Doc 61    Filed 05/11/22 Entered 05/11/22 14:10:18              Desc Main
                                   Document      Page 2 of 4



       4.      On her Petition, Ms. Dickerson disclosed that she filed three bankruptcy cases

within the eight years prior to filing the instant case. Records of the Clerk of the United States

Bankruptcy Court for the Northern District of Georgia confirm that on May 14, 2014, Karen Elaine

Dickerson, with social security number XXX-XX-5682, commenced Case No. 14-59563-BEM by

filing a chapter 7 petition (the “First Bankruptcy Case”).

       5.      Records of the Clerk of the United States Bankruptcy Court for the Northern

District of Georgia show that on August 20, 2014, the Court issued a chapter 7 discharge in the

First Bankruptcy Case.

       6.      Ms. Dickerson filed the Petition less than eight years after filing the petition in the

First Bankruptcy Case.

       7.      Ms. Dickerson received a chapter 7 discharge in the First Bankruptcy Case, which

she commenced within eight years before the date of the filing of the Petition.

                    STATEMENT OF APPLICABLE STATUTE, RULES

       8.      At the time Ms. Dickerson filed the Petition, the Bankruptcy Code provided that a

debtor shall not be granted a discharge if the debtor has been granted a discharge in a case

commenced within eight years before the date of the filing of the petition. 11 U.S.C. 727(a)(8).

       9.      Pursuant to Federal Rules of Bankruptcy Procedure 4004(a), the deadline for filing

a motion objecting to Ms. Dickerson’s discharge in this case is August 8, 2022.

                                         CONCLUSION

       10.     Ms. Dickerson received a chapter 7 discharge in a bankruptcy case (Case No. 14-

59563-BEM) that was commenced within eight years before the date of the filing of the Petition.

       11.     The United States Trustee timely files this motion.




                                                -2-
Case 19-59018-lrc      Doc 61     Filed 05/11/22 Entered 05/11/22 14:10:18             Desc Main
                                  Document      Page 3 of 4



       12.    As a matter of law, Ms. Dickerson is not eligible to receive a discharge in this case.

11 U.S.C. 727(a)(8).

       WHEREFORE, the United States Trustee respectfully requests the Court enter an order

denying Ms. Dickerson a discharge in this bankruptcy case pursuant to section 727(a)(8) .

                                                     MARY IDA TOWNSON
                                                     UNITED STATES TRUSTEE
                                                     REGION 21

                                                                    /s/
                                                     Lindsay P. S. Kolba
                                                     Georgia Bar No. 541621
                                                     United States Department of Justice
                                                     Office of the United States Trustee
                                                     362 Richard Russell Building
                                                     75 Ted Turner Drive, SW
                                                     Atlanta, Georgia 30303
                                                     (404) 331-4478
                                                     lindsay.p.kolba@usdoj.gov




                                              -3-
Case 19-59018-lrc       Doc 61     Filed 05/11/22 Entered 05/11/22 14:10:18              Desc Main
                                   Document      Page 4 of 4



                                 CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Motion Objecting
to Discharge Pursuant to Section 727(a)(8) using the Bankruptcy Court’s Electronic Case Filing
program, which sends a notice of this document and an accompanying link to this document to the
following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program.

Karen King             myecfkingnking@gmail.com, EcfmailR62760@notify.bestcase.com,
                       notices@kingkingllc.com, notices@kingkingllc.com
Ronald A. Levine       rlevine@levineblock.com, rlevine682@gmail.com
Kathleen Steil         ks@orratl.com, GA66@ecfcbis.com, jc@orratl.com

       I further certify that on this day, I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid on the following parties at the address
shown for each.

Karen Elaine Dickerson
1885 Harper Drive
#5G
Morrow, GA 30260
                                                                     /s/
                                                      Lindsay P. S. Kolba
                                                      Georgia Bar No. 541621
                                                      United States Department of Justice
                                                      Office of the United States Trustee
                                                      362 Richard Russell Building
                                                      75 Ted Turner Drive, SW
                                                      Atlanta, Georgia 30303
                                                      (404) 331-4478
                                                      lindsay.p.kolba@usdoj.gov




                                                -4-
